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                       IN THE UNITED STATES DISTRICT COURT

                        FOR THE EASTERN DISTRICT OF TEXAS

                                      LUFKIN DIVISION

UNITED STATES OF AMERICA                        §
                                                §
V.                                              §             NO. 9:08-CR-40
                                                §
DAVID JASON MICHELS                             §


       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE’S REPORT

       On this day, the Court considered the Findings of Fact and Recommendation on Guilty Plea

of United States magistrate judge Earl S. Hines regarding defendant’s plea of guilty to Count II of

the Indictment in the above-numbered case. Having conducted a proceeding in the form and manner

prescribed by Fed. R. Crim. P. 11, the magistrate judge recommends that the court conditionally

accept the plea agreement and the guilty plea of Defendant.

       The parties have not objected to the magistrate’s findings. The Court is of the opinion that

the Findings of Fact and Recommendation on Guilty Plea should be accepted. It is, therefore,

ORDERED that the Findings of Fact and Recommendation on Guilty Plea of the United States

Magistrate Judge are ADOPTED. Defendant’s plea agreement is conditionally ACCEPTED by

the Court at this time. It is further ORDERED that, in accordance with Defendant’s guilty plea and

the magistrate judge’s findings and recommendation, Defendant, DAVID JASON MICHELS, is

hereby adjudged as guilty on Count II of the charging Indictment, charging violations of Title 18,

United States Code, Section 922(g)(1).

      So ORDERED and SIGNED this 6 day of March, 2009.




                                                    ___________________________________
                                                    Ron Clark, United States District Judge
